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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             January 2023 Grand Jury

11   UNITED STATES OF AMERICA,               ED CR 5:23-cr-00040-AB

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. §§ 2252A(a)(5)(B),
                                             (b)(2): Possession of Child
14   PARKER WILLIAM WHITE,                   Pornography; 18 U.S.C. §§ 2253 and
       aka “panda4985,”                      2428: Criminal Forfeiture]
15
               Defendant.
16

17        The Grand Jury charges:
18                     [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]
19        On or about January 27, 2022, in San Bernardino County, within
20   the Central District of California, defendant PARKER WILLIAM WHITE,
21   also known as “panda4985,” knowingly possessed a black/grey iPhone 12
22   Pro Max, Model MG923LL/A, bearing IMEI No. 354876506002091, and
23   bearing Serial No. F2LF69170D43 (the “iPhone”), that contained at
24   least one image of child pornography, as defined in Title 18, United
25   States Code, Section 2256(8)(A), that had been produced using
26   materials that had been mailed, shipped, and transported in and
27   affecting interstate commerce by any means, including by computer,
28   knowing that the images were child pornography.
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 1        The child pornography that defendant WHITE possessed on the

 2   iPhone included, but was not limited to:

 3        1.   a video titled “IMG_3999.MP4”;

 4        2.   a photograph titled “IMG_3999.JPG”; and

 5        3.   a video titled “IMG_4001.MP4”.

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 1                            FORFEITURE ALLEGATION ONE

 2                                [18 U.S.C. § 2253]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 2253, in the event of the defendant’s

 7   conviction of the offense set forth in this Indictment.

 8        2.   The defendant, if so convicted, shall forfeit to the United

 9   States of America the following property:

10             (a)   All right, title, and interest in any visual depiction

11   involved in any such offense, or any book, magazine, periodical, film

12   videotape, or other matter which contains any such visual depiction,

13   which was produced, transported, mailed, shipped or received and

14   involved in such offense;

15             (b)   All right, title, and interest in any property, real

16   or personal, constituting or traceable to gross profits or other

17   proceeds obtained from such offense;

18             (c)   All right, title, and interest in any property, real

19   or personal, used or intended to be used to commit or to promote the

20   commission of such offense or any property traceable to such

21   property; and

22             (d)   To the extent such property is not available for

23   forfeiture, a sum of money equal to the total value of the property

24   described in subparagraphs (a), (b), and (c).

25        3.   Pursuant to Title 21, United States Code, Section 853(p),

26   as incorporated by Title 18, United States Code, Section 2253(b), the

27   defendant, if so convicted, shall forfeit substitute property, up to

28   the total value of the property described in the preceding paragraph
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 1   if, as the result of any act or omission of the defendant, the

 2   property described in the preceding paragraph, or any portion

 3   thereof: (a) cannot be located upon the exercise of due diligence;

 4   (b) has been transferred, sold to or deposited with a third party;

 5   (c) has been placed beyond the jurisdiction of the court; (d) has

 6   been substantially diminished in value; or (e) has been commingled

 7   with other property that cannot be divided without difficulty.

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 1                            FORFEITURE ALLEGATION TWO

 2                                [18 U.S.C. § 2428]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 2428, in the event of the defendant’s

 7   conviction of the offense set forth in this Indictment.

 8        2.   The defendant, if so convicted, shall forfeit to the United

 9   States of America the following property:

10             (a)   All right, title, and interest in any property, real

11   or personal, that was used or intended to be used to commit or to

12   facilitate the commission of such offense;

13             (b)   All right, title, and interest in any property, real

14   or personal, constituting or derived from any proceeds obtained

15   directly or indirectly from such offense; and

16             (c)   To the extent such property is not available for

17   forfeiture, a sum of money equal to the total value of the property

18   described in subparagraphs (a) and (b).

19        3.   Pursuant to Title 21, United States Code, Section 853(p),

20   as incorporated by Title 18 Section 2428(b)(2), the defendant, if so

21   convicted, shall forfeit substitute property, up to the total value

22   of the property described in the preceding paragraph if, as the

23   result of any act or omission of the defendant, the property

24   described in the preceding paragraph, or any portion thereof: (a)

25   cannot be located upon the exercise of due diligence; (b) has been

26   transferred, sold to or deposited with a third party; (c) has been

27   placed beyond the jurisdiction of the court; (d) has been

28   substantially diminished in value; or (e) has been commingled with
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 1   other property that cannot be divided without difficulty.

 2

 3                                              A TRUE BILL
 4

 5                                                   /S/
                                                Foreperson
 6

 7   E. MARTIN ESTRADA
     United States Attorney
                          y
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10   MACK E. JENKINS
     Assistant United States Attorney
11   Chief, Criminal Division
12   JEFFREY M. CHEMERINSKY
     Assistant United States Attorney
13   Chief, Violent & Organized Crime
     Section
14
     LYNDSI ALLSOP
15   Assistant United States Attorney
     Violent & Organized Crime Section
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